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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                   www.flsb.uscourts.gov
In re:
 GIANO GELATO LLC,                                    Case No. 19-26273-LMI
                                                      Chapter 7
        Debtor.
 _________________________/

              TRUSTEE’S MOTION TO OVERRULE OBJECTIONS TO SUBPOENA,
               FOR PRODUCTION OF DOCUMENTS, AND FOR PRIVILEGE LOG

         Plaintiff, MARCIA T. DUNN, as Chapter 7 Trustee of the bankruptcy estate of GIANO

GELATO LLC (the “Trustee”), by and through undersigned counsel, requests that this Court

overrule the objections to the Subpoena proposed by CNC Accounting Corp. (“CNC”), for

production of documents, and for privilege log and in support thereof, states as follows:

         1.      On December 5, 2019 (the “Petition Date”), GIANO GELATO LLC (the

“Debtor”), commenced the instant case with the filing of a bare-bones voluntary petition under

Chapter 7, Title 11 of the bankruptcy United States Bankruptcy Code (the “Petition”).

         2.      Marcia T. Dunn was appointed as the Chapter 7 Trustee of the Debtor’s bankruptcy

estate (the “Estate”).

         3.      On February 20, 2020, the Trustee filed and served a Notice of Rule 2004

Examination Duces Tecum Subpoena of CNC Accounting Corp. (the “Subpoena”) [D.E. 27],

thereby requesting information and documentation from CNC to be produced no later than March

12, 2020.

         2.      The Trustee seeks documents and information from CNC as part of her

investigation of the Debtor, and in particular, the Debtor’s relationship with and interest in H&A

GELATO, LLC.



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       3.      On February 28, 2020, the Trustee granted CNC an extension of time to respond to

the Subpoena on or before April 3, 2020.

       4.      On May 15, 2020, CNC untimely served its “Response and Objection to Subpoena

and Incorporated Memorandum of Law” (the “Response”). Attached hereto as Exhibit 1 is a true

and correct copy of the Response. No privilege log was produced in conjunction with the

Response.

       5.      Fed. R. Bankr. P. 2004 allows the Trustee to go on a fishing expedition so long as

the information sought relates to “the acts, conduct, or property or to the liabilities and financial

condition of the debtor, or to any matter which may affect the administration of the debtor's

estate....” In re MMH Auto. Group, LLC, 346 B.R. 229, 233 (Bankr. S.D. Fla. 2006) (citing In re

Wilcher, 56 B.R. 428 (Bankr.N.D.Ill.1985)).

       6.      Regarding CNC’s objection as it relates to H&A GELATO, LLC, the Trustee

requests that such objection be overruled.

       7.      First, Federal Rule of Evidence 501 states that the federal common law of privilege

applies when federal law determines the substantive rights of the parties. Fed.R.Evid. 501; In re

N. Plaza, LLC, 395 B.R. 113, 121 (S.D. Cal. 2008) (citing United States v. Zolin, 491 U.S. 554,

562, 109 S.Ct. 2619, 105 L.Ed.2d 469 (1989)). An examination under Bankruptcy Rule 2004 is

nonadversarial in nature and aimed at discovering evidence upon which future causes of action

may be based, thus if a subpoena is issued in connection with a Rule 2004 examination, bankruptcy

law and federal common law apply. In re N. Plaza, LLC, 395 B.R. at 122 (citations omitted).

       8.      Further, as stated in Matter of Int'l Horizons, Inc., the Eleventh Circuit held that the

bankruptcy court is not required to apply a state-created accountant/client privilege because no

such privilege exists as a matter of federal common law. Matter of Int'l Horizons, Inc., 689 F.2d



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996, 1004 (11th Cir. 1982) (Couch v. United States, 409 U.S. 322, 93 S.Ct. 611, 619, 34 L.Ed.2d

548 (1973)). Even as a matter of comity, the Eleventh Circuit has held that such consideration

does not require a federal court to state law account-client privilege. Int'l Horizons, 689 F.2d at

1005.

           9.    Second, to the extent the Court applies Fla. Stat. 90.5055, the Court should overrule

the objection. Fla. Stat. 90.5055(4) states that there is no accountant-client privilege when the

services of the accountant were sought or obtained to enable or aid anyone to commit or plan to

commit what the client knew or should have known was a crime or fraud and relevant to a matter

of common interest between two or more clients, if the communication was made by any of them

to an accountant retained or consulted in common when offered in a civil action between the

clients.

           10.   Here, the Trustee is investigating the nexus between the Debtor and H&A

GELATO, LLC. Facts supporting this nexus from www.sunbiz.org include the fact that Hernan

Gianelli and Adrian Gianelli were the managers of the Debtor between (at least) April 28, 2016

and January 26, 2018 all while both Hernan Gianelli and Adrian Gianelli were also the managers

of H&A GELATO, LLC between (at least) October 11, 2017 and the present. In addition, both the

Debtor and H&A GELATO, LLC have the same registered agent – CNC.

           11.   In the event that principals of the Debtor (Hernan Gianelli and Adrian Gianelli),

shut down the Debtor’s operations and transferred same to H&A GELATO, LLC, the documents

relating to H&A GELATO, LLC would not be protected by the accountant-client privilege.

Further, it appears that a common interest exists between the Debtor and H&A GELATO, LLC.

           12.   Additionally, 26 U.S.C. § 7216 does not preclude production of documents

pursuant to the Subpoena. I.R.C § 7216(b)(1)(B) permits disclosure pursuant to a court order.



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While interpreting 26 U.S.C. § 6103, the Int'l Horizons court noted that noted that this section as

promulgated to prevent disclosure by the government and did not preclude production of

documents needed to assess a debtor’s financial arrangement or plan. In re GHR Companies, Inc.,

41 B.R. 655, 662 (Bankr. D. Mass. 1984) (In re International Horizons, Inc., 16 B.R. 484, 485–87

(Bankr.N.D.Ga.1981), aff'd, 689 F.2d 996 (11th Cir.1982)).

       13.      Therefore, the Trustee seeks an order overruling the objections and ordering CNC

to produce the documents withheld per Fla. Stat. 90.5055 and 26 U.S.C. § 7216.

       14.      Further, in response to the Subpoena, CNC produced 725 pages of documents.

However, some of the pages are redacted in full or in part. CNC did not provide a privilege log

with the Response.

       15.      To the extent that redactions related to Fla. Stat. 90.5055, such objections to the

discovery should be overruled based on above.

       16.      To the extent CNC is asserting another objection to the Subpoena, the Trustee

requests that CNC provide a privilege log asserting the specific objections to the Subpoena.

       17.      Pursuant to Local Rule 7026-1(F), undersigned counsel and counsel to CNC

conferred regarding this Motion. The parties were unable to resolve this motion without the Court

intervention.

       WHEREFORE, MARCIA T. DUNN, as Chapter 7 Trustee of the bankruptcy estate of

GIANO GELATO LLC, requests that the Court enter an order (i) granting the motion; (ii) overrule

CNC’s objections to the Subpoena; (iii) compel CNC to produce all documents withheld relating

to or regarding H&A GELATO, LLC; (iv) order CNC to prepare a privilege log; and (v) grant

such further and other relief as the Court deems just and proper.




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       Dated: June 11, 2020                  Respectfully submitted,

                                             DUNN LAW, P.A.
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                                             as Chapter 7 Trustee
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                                             By:      /s/ Barry S. Turner
                                                        Barry S. Turner, Esq.
                                                        Fla. Bar No. 85535



                                CERTIFICATE OF SERVICE

       I CERTIFY that a true and correct copy of the foregoing was served by U.S. First Class
Mail, Fax, or Email, as indicated below, on June 11, 2020, upon the following:

 Matthew A. Tornincasa, Esq.                         H&A GELATO, LLC
 2700 N. Military Trail, Suite 150                   CNC CERTIFIED PUBLIC
 Boca Raton, FL 33431                                ACCOUNTANT, its Registered Agent
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 Counsel to CNC

 H&A GELATO, LLC                                     H&A GELATO, LLC
 HERNAN GIANELLI, Manager                            ADRIAN GIANELLI, Manager
 3401 SW 160 AVE., SUITE 330                         3401 SW 160 AVE., SUITE 330
 MIRAMAR, FL 33027                                   MIRAMAR, FL 33027

       I CERTIFY that a true and correct copy of the foregoing was served via Notice of
Electronic Filing (CM/ECF) on this 11th day of June, 2020, upon all registered users in this case.

                                             By:       /s/ Barry S. Turner Esq.
                                                       Barry S. Turner, Esq.
                                                       FL Bar No. 85535




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